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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS,
                              EASTERN DIVISION
BNSF Railway Company,                   )
                                        )
                  Plaintiff,            )    Case No. 21-cv-3072
      vs.                               )
                                        )
The Town of Cicero, Illinois,           )
                                        )
                  Defendant.            )


             DEFENDANT TOWN’S TABLE OF SUPPLEMENTAL
                   RULE 56.1 STATEMENT EXHIBITS

   Exhibit                                    Title
     A         Cicero Charter
     B         U.S. Census Bureau – Cicero Facts
     C         BNSF Railway Consolidated Financial Statement
     D         Section 98-232 of the Town Code
     E         Town Ordinance dated 12.08.2020 Amending Sewer Fees
     F         Chapter 98 of the Town Code -Utilities
     G         Town Ordinance dated 06.09.2020 Amending Sewer Fees
     H         Affidavit of Engineer Tim Geary dtd. 07.01.2021 (with Exhibits
               A+B attached)
     I         Affidavit of Water Department re: Sewer Billing dtd. 12.07.2021
     J         Affidavit of Water Director Lido Manetti dtd. 07.01.2021
     K         Town Board Agenda for 12.08.2020
     L         Town Sewer Ordinance dtd. 07.21.1958
     M         Supplemental Affidavit of Town Engineer Tim Geary dtd.
               12.08.2021
     N         MWRD Minutes re: Passage of Watershed Management Ordinance
               (WMO) and Watershed Management Ordinance (2014)
     O         Deposition Transcript of BNSF Hub Director Chuck Burriss
     P         Deposition Transcript of BNSF 30(b)(6) designee Rakia Tasiu re:
               BNSF utilization of sewer system
     Q         Deposition of Town Water Director Lido Manetti
     R         Affidavit of Town Finance Director dtd. 12.08.2021
     S         Citgo Quick Facts
     T         Bimbo Bakeries USA Quick Facts
     U         Amazon 2020 Annual Report
